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10                                     UNITED STATES DISTRICT COURT

11                                    NORTHERN DISTRICT OF CALIFORNIA

12                                         SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                          )   CASE NO. CR 20-249 RS
14                                                      )
              Plaintiff,                                )   OPPOSITION TO DEFENDANT’S MOTION TO
15                                                      )   COMPEL DISCOVERY
         v.                                             )
16                                                      )   Date:    December 20, 2022
     MARCUS ANDRADE,                                    )   Time:    9:30am
17                                                      )   Judge:   Hon. Laurel Beeler
              Defendant.                                )
18                                                      )

19            Even before the Indictment in this case was filed, Defendant Andrade was outspoken about the
20 conspiracy he believes to be motivating the government’s investigation in this case. In May 2020,

21 Defendant Andrade sent a letter to various federal legislators alleging that the government’s

22 investigation into him was designed “to gain publicity and influence the 2020 presidential and

23 congressional elections,” and suggesting that this investigation is “politically motivated” and related to

24 what he referred to as “the Russian Collusion Hoax.” See Dawson Decl., Ex. A at 1-2. Defendant went

25 on to claim in a pro se filing in a related civil forfeiture action that this case is “politically motivated”

26 and alleging a connection to a wide array of other individuals and entities, including but not limited to

27 Paul Erickson, Maria Butina, Michael Flynn, Landfair Capital, and Muzin Capital Partners. See Dawson

28 Decl., Ex. B at ¶¶ 3-7.

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 1           Defendant’s conspiracy theories have found new life in the form of discovery requests.

 2 Defendant’s requests have included requests for CIA material, NSA material, documents related to Rudy

 3 Giuliani, and a request for a review of the unredacted report of Robert S. Mueller on Russian

 4 Interference in the 2016 Presidential Election. 1 As the Court will no doubt notice, many of the same

 5 names listed above—Paul Erickson, Maria Butina, etc.—are the subject of Defendant’s motion to

 6 compel that is now before the Court. But conspiratorial speculation is not a proper basis for discovery in

 7 a criminal case. As explained below, the government is aware of nothing beyond such speculation

 8 justifying defendant’s request. And because Defendant has submitted voluminous materials under seal,

 9 the government is unable to challenge any factual assertions therein due to their redacted nature.

10           For the reasons explained further below, the Court should decline to order any new discovery

11 based on factual assertions that have not been subjected to the adversarial process. Many of the claims

12 that have been shared with the government, for example regarding Comply Advantage, have been

13 proved false. The Court therefore should not take on faith any further factual assertions that have been

14 withheld from the government. While Defendant may have a limited right to keep his defense theory

15 confidential, factual assertions in support of discovery must be subjected to the adversarial process.

16 This Court should decline Defendant’s invitation to undermine the adversarial process, to embark on a

17 fishing expedition, and to replace the Rule 16’s discovery standard with conspiratorial flights of fancy.

18 I.        Legal Standard

19           To obtain discovery under Rule 16, a defendant must make a prima facie showing of

20 materiality. United States v. Little, 753 F.2d 1420, 1445 (9th Cir.1984); see also United States v. Cadet,

21 727 F.2d 1453, 1468 (9th Cir.1984) (same). A general description of the information sought will not

22 suffice, nor will conclusory allegations of materiality. Rather, Defendants must present facts showing

23 that the government is in possession of information helpful to the defense. See Little, 753 F.2d at 1445;

24 Cadet, 727 F.2d at 1466–68; United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir.1990); United States

25 v. Muniz–Jaquez, 718 F.3d 1180, 1183 (9th Cir.2013); United States v. Zone, 403 F.3d 1101, 1107 (9th

26
             1
27           The government urges the Court to review the full breadth of the discovery requested by
   Defendant. See Dent Declaration Exhibits 6, 7, 8, and 9. The full scope of discovery requested is
28 outrageous and far beyond what the rules would provide for. In sum, it is a fishing expedition designed
   either to delay or deter prosecution.
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 1 Cir. 2005).

 2           “Materiality is a necessary prerequisite to discovery.” United States v. USDC, Cent. Dist. of

 3 Cal., Los Angeles, CA, 717 F.2d 478, 480 (9th Cir. 1983). Evidence is material under Rule 16 if it is

 4 “relevant to the development of a possible defense.” United States v. Mandel, 914 F.2d 1215, 1219 (9th

 5 Cir. 1990) (internal quotation omitted). Materiality means “more than that the evidence in question

 6 bears some abstract logical relationship to the issues in the case.” United States v. Barreras-Felix, No.

 7 19-CR-02199, 2020 WL 1074753, at *3 (D. Ariz. Mar. 6, 2020) (internal quotation omitted). Rather,

 8 disclosure of the evidence must “enable the accused to substantially alter the quantum of proof in his

 9 favor.” United States v. Marshall, 532 F.2d 1279, 1285 (9th Cir. 1976) (denying discovery motion

10 where “[a]ny information discovered would have had a great potential for confusing the issues at trial”).

11 II.       Argument

12           A.      This Court should not grant discovery based on factual allegations not shared with
                     the government and thus not subject to adversarial testing.
13
             Defendant seeks to re-write the practice of discovery by moving for discovery while refusing to
14
     share with the government the basis for that discovery. This Court should not permit such an end-run
15
     around the adversarial process.
16
             The only basis for Defendant’s novel approach to discovery—that is, a claimed entitlement to
17
     avoid ever explaining to the government the basis for that discovery—is the general principle that a
18
     defendant need not disclose his defense strategy. And so much is true. But a defendant should not be
19
     permitted to submit untested factual claims to a court in support of broad discovery requests without
20
     ever having the basis of those claims tested. If such a strategy is permitted, it will be deployed in every
21
     criminal case and courts will be obligated to vet factual claims without the benefit of adversarial testing,
22
     which is of course both unfair to the government and an impossible task for the court.
23
             The danger of his approach is neatly illustrated by Defendant’s request for materials related to
24
     Comply Advantage. See Motion at 8. Defendant’s motion claims that a witness associated with Comply
25
     Advantage, Angela Generosa, was previously contacted by one of the case agents with regard to AML
26
     Bitcoin, and further that Comply Advantage “monitored all of the AML Bitcoin transactions.” Id. In
27
     the course of meeting and conferring, the government informed Defendant that we did not believe that
28

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 1 employee was ever interviewed by the FBI, but Defendant persisted in his claim to the contrary. The

 2 motion now requests production of any “agreements, 302s, transaction data, recordings, or other

 3 documents relating to Comply Advantage’s monitoring of AML Bitcoin transactions.” Id.

 4           As described in more detail below, since the filing of Defendant’s motion, the FBI reached out to

 5 Ms. Generosa and confirmed that, contrary to Defendant’s repeated assertions to the contrary, she had

 6 never previously spoken to the case agent. See Dawson Declaration at ¶ 5. She also flatly contradicted

 7 Defendant’s claim that Comply Advantage “monitored all of the AML Bitcoin transactions.” Id. ¶ 6.

 8           For these reasons and others described more thoroughly below, Defendant’s requests for

 9 documents related to Comply Advantage should be denied as factually unsupported. But more

10 importantly, it illustrates the danger of permitting Defendant to seek discovery based on factual

11 assertions have been withheld from the government and thus are untested. The flaw in Defendant’s

12 Comply Advantage requests has only been made apparent because the government had the opportunity

13 to challenge those claims. But no such opportunity has been afforded with regard to the voluminous

14 redactions in Defendant’s motion. The government requests that this Court reconsider its order

15 authorizing such broad redactions and exclude such factual claims from the sealing order. In the

16 alternative, the government requests that the Court decline to order any discovery premised on factual

17 claims that have been withheld from the government.

18           B.      Jack Abramoff Documents

19           Defendant’s first category of requests relates to Jack Abramoff, but it is not at all clear what

20 specifically Defendant is moving to compel. Defendant’s motion speaks broadly about “material

21 regarding Abramoff’s wrongdoing and his business activities contemporaneous with the government’s

22 allegations in this case . . . .” Motion at 6. And, indeed, the government has produced voluminous

23 evidence related to Abramoff’s business activities. This includes multiple sets of search warrant

24 seizures, bank records, and reports of interview. At least at this high level of abstraction, it is unclear

25 what else Defendant is asking for.

26           The two more specific subsets identified by Defendant in his motion are FISA applications and

27 302s authored by FBI Special Agent Leana Saler. First, as for FISA applications, and as the

28 government has previously informed defense counsel, the government is not aware of any FISA

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 1 applications relevant to this case. Dent Declaration, Exhibit 37 at ¶ 15. The government invited defense

 2 counsel to provide any information in its possession in the event the government was incorrect, but of

 3 course Defendant has repeatedly declined to offer any such clarifications, presumably on the theory that

 4 any such communication would somehow disclose the defense strategy. This is a classic fishing

 5 expedition. The government notes as well that Defendant’s request seeks not only any FISA application

 6 targeting Abramoff, he also seeks any such application that “references” Abramoff (or a variety of other

 7 entities). Mere passing reference to Abramoff is insufficient to entitle Defendant to production of such a

 8 document (if one even exists, of which the government is unaware).

 9           Second, as to 302s authored by SA Saler, the government previously explained to the defense

10 that SA Saler did not play a role in this investigation, but rather was assigned to the Department of

11 Justice’s previous investigation into Abramoff regarding completely unrelated conduct nearly 20 years

12 ago. See Dent Declaration, Exhibit 4, at 4. As the Court may recall, Abramoff’s guilty plea in that case

13 was entered in January 2006. 2 Defendant Andrade has never explained how 302s relating to conduct

14 dating back nearly 20 years would be relevant to the pending charges. In meet and confer sessions,

15 Defendant has noted that Abramoff tried to call SA Saler when agents were executing a warrant at his

16 house. See id. This, of course, is immaterial. Whether Abramoff sought to call her has no bearing on

17 whether she had any involvement in this investigation. Similarly, Abramoff’s statement that SA Saler

18 was “on his case” is clearly a reference to Abramoff’s prior prosecution. See id. Abramoff, in the midst
19 of having his home searched, would have no way of knowing who from the FBI was assigned to this

20 investigation. In sum, Defendant has articulated no basis to believe that Saler’s 302s have any bearing

21 on this case, and his request for production is yet another transparent fishing expedition. To the extent

22 Defendant proffered further facts in support of his request in the sealed portions of his papers, the

23 government urges this Court to unseal those portions and to permit the government to respond directly.

24           C.      Documents relating to Maria Butina and Paul Erickson

25           As demonstrated by Defendant’s pre-indictment letter requesting a Senate inquiry into this

26 investigation, he has long been convinced that he is the target of an FBI conspiracy involving what he

27
             2
28            See Department of Justice Press Release (January 3, 2006)
     https://www.justice.gov/archive/opa/pr/2006/January/06_crm_002.html.
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 1 refers to as the “Russian Collusion Hoax.” See Dawson Declaration, Exhibit A. More specifically,

 2 Defendant has alleged elsewhere that the connection to this “Russian Collusion Hoax” is demonstrated

 3 in part by the alleged relationship between his case and the cases against two other criminal defendants:

 4 Maria Butina and Paul Erickson. See id., Exhibit B, ¶¶ 4 & 5. Neither Butina nor Erickson was charged

 5 with anything relating to AML Bitcoin or Defendant Andrade, which it appears Defendant does not

 6 dispute. Defendant has nevertheless rejected the government’s explanation that neither Butina nor

 7 Erickson have a direct relationship with the charges against Defendant Andrade. At Defendant’s

 8 request, the government has reviewed 302s relating to interviews of Butina and Erickson. Neither

 9 individual referenced Defendant Andrade at all, and Butina made only a glancing reference to AML

10 Bitcoin, essentially disclaiming any knowledge of it. Dent Declaration, Exhibit 5 (responses to Requests

11 3 and 4 in 3/7/22 letter). Given the lack of any substantive references to Andrade or AML Bitcoin, there

12 is no basis to produce the reports in their entireties. The government is not aware of any evidence that

13 either Erickson or Butina ever actually purchased AML Bitcoin or its associated token. Nevertheless,

14 the government has agreed to produce the limited documentation in those files that relate to AML

15 Bitcoin—which amount to marketing materials. Any production beyond what the government has

16 already agreed to do would be unjustified.

17           Defendant’s motion rejects this explanation and resorts to speculation. Defendant argues that

18 Butina “kept money in a bank account for Landfair Capital Consulting.” Motion at 7. The government
19 is unaware of any such evidence, and it has previously noted to the defense that money being transferred

20 into an account does not necessarily reflect “keeping” money in that account. Moreover, the Landfair

21 Capital Consulting account was used for various purposes unrelated to AML Bitcoin or Andrade, and to

22 presume such a link is naked speculation. The fact that Erickson and Abramoff are associates, and that

23 Butina and Erickson were associates, does not entitle Defendant to rummage through unrelated casefiles.

24 And again, to the extent Defendant has proffered further facts to the Court in support of this request, the

25 government urges this Court to unseal those portions and to permit the government to respond directly.

26           D.      Alexander Levin Documents

27           Next, Defendant requests documents related to an individual named Alexander Levin.

28 Specifically, Defendant seeks “relevant materials” from any searches of Levin’s mobile devices, or in

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 1 the alternative, entire copies of Levin’s mobile devices that Defendant believes were seized and

 2 searched by the government at some point. According to Defendant, these materials are supposedly

 3 relevant to this investigation because, at some undetermined time, Abramoff “introduced Levin to AML

 4 Bitcoin and discussed cryptocurrency.” Motion at 8. Defendant makes no other factual allegation to

 5 connect Levin to this case, which is unsurprising because Levin is completely irrelevant to this case.

 6           To begin, records from Abramoff’s phone, which was seized and searched as part of this

 7 investigation, have been produced in discovery, so Defendant has access to any communications

 8 between Abramoff and Levin from Abramoff’s phone that Defendant believes are relevant to this case.

 9 To the extent they occurred, any law enforcement actions taken in connection to Levin’s mobile devices

10 were part of a completely separate investigation involving different law enforcement agents, different

11 allegations, different conduct, and different individuals. Thus, Defendant’s discovery request is overly

12 broad and amounts to nothing more than a fishing expedition. The 302 cited by Defendant in his Motion

13 describes some communications between Abramoff and Levin and mentions only that Abramoff sent

14 Levin a document about cryptocurrency. Def. Ex. 11, FBI-302-005158 at 10. There is no mention at all

15 of Defendant or AML Bitcoin. Defendant writes in his Motion that “Abramoff introduced Levin to

16 AML Bitcoin” but there is no evidentiary support for this at all, at least not in the document cited by

17 Defendant. Just to be sure the two investigations were separate, agents searched for “AML Bitcoin,”

18 “Andrade” and “NAC Foundation” in the Levin case file and found no mention of any of those terms.
19 See Dent Declaration Exhibit 33 (at page 69 of ECF document). In other words, there was absolutely no

20 reference to Defendant, his business, or his purported cryptocurrency at all in the investigation of Levin.

21           Similar to other discovery requests, Defendant is asking the Court to allow a fishing expedition

22 into an individual, Levin, with at most a tangential connection to Abramoff but no connection at all to

23 the conduct alleged here. It simply cannot be—and Rule 16 does not allow—that relevant and

24 discoverable materials exist simply because Abramoff had a conversation with someone, even if that

25 conversation mentioned cryptocurrency. Again, the government has requested any information

26 Defendant has suggesting that Levin is in any way connected to the allegations in this case, and, if there

27 are materials that are discoverable pursuant to Rule 16 or any other rule or obligation, they will be

28 produced. Unfortunately, to the extent he has any such evidence, Defendant has chosen to file it under

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 1 seal and thus the government cannot respond. Accordingly, the Court should deny this request.

 2           E.      Comply Advantage Documents

 3           As described above, Defendant also seeks discovery related to a company called Comply

 4 Advantage, which Defendant describes as “perform[ing] monitoring of transactions for

 5 cryptocurrencies.” Motion at 8. Specifically, Defendant seeks “agreements, 302s, transaction data,

 6 recordings, or other documents” relating to ComplyAdvantage’s monitoring of AML Bitcoin’s

 7 transactions. To support the argument that this discovery exists and is being withheld by the

 8 government, Defendant has alleged repeatedly, and states as fact in his Motion, that an employee at

 9 Comply Advantage who was responsible for AML Bitcoin’s account named Angela Generosa was

10 previously contacted by FBI Special Agent Wynar, one of the agents working on this investigation. To

11 be more precise, the declaration in support of the motion states: “During our October 2 meet and confer,

12 we told the prosecutors that we know that FBI Special Agent Wynar contacted Angela Generosa

13 regarding Mr. Andrade’s case,” and that the government should at a minimum produce notes of that

14 interview. Dent Decl. ¶ 41 (emphasis added). The government previously informed Defendant that it is

15 not aware of any documents regarding agreements, transaction monitoring data, or other discoverable

16 documents relating to Comply Advantage. See Dawson Decl., Ex. C at 2.

17           In response to Defendant’s request, SA Wynar searched for any memoranda memorializing a

18 conversation with Ms. Generosa. None exists. He searched for any notes or other documents
19 memorializing a conversation, or even an attempt to contact her. None exist. In fact, on December 1,

20 2022 and in response to Defendant’s Motion, SA Wynar contacted Ms. Generosa for the very first time

21 and asked her whether they had ever spoken previously. She said they had not, and that she had not had

22 any conversation with any FBI personnel about Andrade prior to December 2022. See Dawson Decl. ¶

23 5. As discussed above, this is a clear example of Defendant making a factual claim—in this case, that

24 SA Wynar spoke to Ms. Generosa and took notes of the conversation—that is not true, and then seeking

25 discovery on the back of that claim. In this case, because the case agent reached out to the witness, the

26 government was able to rebut the claim. For others, that is impossible as Defendant has chosen to shield

27 his claims from scrutiny by filing under seal. The Court should deny that request.

28           The government notes finally that it has now, in December 2022 and based on Defendant’s

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 1 discovery request, interviewed Ms. Generosa and will produce the 302 from that interview when it is

 2 finalized. That interview demonstrates that many of Andrade’s claims in support of his requested

 3 discovery are false. Generosa explained that she worked at Comply Advantage and, while she was the

 4 lead on Andrade’s account, it is not true that Comply Advantage monitored all of AML Bitcoin’s

 5 transactions. Dawson Decl. ¶ 6. In fact, Generosa had never even heard of the name “AML Bitcoin”

 6 until she was asked about it by the FBI in December 2022. Id. Generosa told the FBI that Comply

 7 Advantage was never able to deliver a functional product to Andrade while she worked on the project

 8 and that Andrade had a contract with Comply Advantage that was never fulfilled. Id. ¶ 7. According to

 9 Ms. Generosa, Andrade broke his contract in less than six months, and she suspects he did not pay. Id.

10           F.      Search Warrants and Subpoenas

11           Next, Defendant seeks search warrant materials and the “fruits of all subpoenas” that reference

12 Andrade, the NAC Foundation, or AML Bitcoin, issued to any of the 31 individuals and entities listed at

13 Request 12 in their July 15, 2022 Discovery Letter, attached to their Motion as Ex. 9. The government

14 has reviewed this list, and is aware who some of these individuals are, while the identities and relevance

15 of others remains a mystery. This request should be denied as woefully overbroad and reflects

16 Defendant’s longstanding view that he is caught up in a larger conspiracy. Defendant has made no

17 showing as to the relevance to this investigation of any of these individuals or requests. Defendant’s

18 requests any materials “that reference Andrade, the NAC Foundation, or AML Bitcoin,” yet offers no
19 evidence or reason to believe those materials exist. The government has produced all relevant search

20 warrants and subpoenas that are part of this investigation, and it is unaware of any previously

21 undisclosed federal or state law enforcement investigation into Andrade, the NAC Foundation, or AML

22 Bitcoin. See Dawson Decl., Ex. C (August 1, 2022 Letter to Defense Counsel, at 2).

23           Moreover, there is a procedural issue with Defendant’s request as well. Defendant’s request

24 seems to suggest a belief that there is a global, law enforcement database that allows the government to

25 search for any search warrants or subpoenas to any individuals, anywhere, by any law enforcement

26 agency, state or federal. No such database exists. The government cannot simply search for any

27 warrants or subpoenas to the more than 30 individuals or entities listed in the Defendant’s letter.

28 Defendant argues that the government should be able to identify any search warrant or subpoena to any

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 1 of these individuals or entities, from any law enforcement agency about an investigation of any kind,

 2 and search for references to the Defendant or his company. That is impossible, in large part because the

 3 agents on this investigation have no idea who many of these individuals are. Again, the Defendant

 4 offers no support for the premise that any of these supposed warrants or subpoenas (even if they do

 5 exist) would mention the Defendant, his company, or his fraudulent cryptocurrency. As the government

 6 has previously communicated, if the Defendant wishes to provide the government with information

 7 suggesting a connection between the allegations in this case and any of the entities listed, the

 8 government will do everything it can to track down any information that is discoverable and produce it.

 9 See Def. Mot., Decl. of Kerrie Dent, Ex. 37 at 2. Yet the Defendant has repeatedly declined to do so,

10 despite multiple requests by the government, and instead chose to hide whatever evidence he has from

11 the government in under seal filings.

12           G.      Privilege Log

13           Finally, Defendant seeks a privilege log for any items removed from Abramoff’s phone when it

14 was searched. The government has informed Defendant that no privilege log exists, and that remains

15 true. Instead, when Abramoff’s phone was searched, agents provided the FBI Unit that images phones

16 (“the RCFL”) with the names of one law firm and two lawyers that agents believed at the time

17 communicated with Abramoff and thus might have had privileged communications with him. The

18 RCFL then ran a keyword search for that law firm and those individuals, and deemed any documents
19 that hit on those terms as per se privileged. The RCFL then segregated any documents that hit on those

20 terms from the trial team. This was done in an attempt to be overly cautious and broad when identifying

21 privileged documents. As the Court well knows, not every document that mentions a law firm or lawyer

22 is privileged, and there are likely numerous communications on Abramoff’s phone that hit on those

23 terms that are not privileged. Nevertheless, the RCFL segregated any document that hit on those three

24 terms, and then gave case agents an image of the phone that excluded those documents. That image has

25 been produced to the defense in this case. The trial team has still not seen the documents that were

26 segregated. No privilege log was ever made, and thus there is no privilege log to produce.

27 III.      Conclusion

28           For the foregoing reasons, Defendant’s motion should be denied.

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 1

 2 DATED: December 5, 2022                              Respectfully submitted,

 3                                                      STEPHANIE M. HINDS
                                                        United States Attorney
 4

 5
                                                        ___________/s/_____________
 6                                                      ANDREW F. DAWSON
                                                        ROSS WEINGARTEN
 7                                                      Assistant United States Attorney
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